          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20                         Page 1 of 31 PageID 7
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5
                                                             EXHIBIT 1


                                  DECLARATION OF JASON T. WEBER
             _____________________________________________________________________________

                     My full legal name is Jason Thomas Weber. I am of sound mind, over 18 years of age. I

            make this Declaration based upon my personal knowledge and state as follows:

                     1.      I am counsel of record for Defendants US Energy Solutions, Inc. (“UES”) and

                             Serghei Busmachiu (“Busmachiu”) (collectively, “Defendants”) in Cause No. DC-

                             19-18533, in the 14th Judicial District Court, Dallas County, Texas (the “Lawsuit”).

                     2.      I have been practicing law in Texas since 2010 and have never been the subject of

                             any professional disciplinary action or judicial reprimand.

                     3.      In connection with the defense of this Lawsuit I served (or caused to be served) a

                             request for a certified copy of Plaintiff Dynamis Energy, LLC d/b/a United Energy

                             Services’s (“Plaintiff”) corporate records maintained by the Office of the Secretary

                             of State of Texas. Attached hereto as Exhibit 1-A is a true and correct copy of the

                             certified records that were produced by the Texas Secretary of State in response to

                             my firm’s request for records related to Plaintiff.

                     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

            United State of America that the foregoing is true and correct.

                     Executed on this 13th day of January, 2020.



                                                              Jason T. Weber




            DECLARATION OF JASON T. WEBER                                                                 PAGE 1
                                                                                                 Def. App. 001
            Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20      Page 2 of 31 PageID 8

                                                             (;+,%,7 1-A
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                              Def. App. 002
            Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 3 of 31 PageID 9
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                           Def. App. 003
           Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 4 of 31 PageID 10
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                           Def. App. 004
           Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 5 of 31 PageID 11
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                           Def. App. 005
           Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 6 of 31 PageID 12
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                           Def. App. 006
           Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 7 of 31 PageID 13
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                           Def. App. 007
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 8 of 31 PageID 14
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 008
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 9 of 31 PageID 15
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 009
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 10 of 31 PageID 16
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 010
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 11 of 31 PageID 17
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 011
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 12 of 31 PageID 18
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 012
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 13 of 31 PageID 19
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 013
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 14 of 31 PageID 20
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 014
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 15 of 31 PageID 21
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 015
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 16 of 31 PageID 22
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 016
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 17 of 31 PageID 23
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 017
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 18 of 31 PageID 24
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 018
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 19 of 31 PageID 25
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 019
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 20 of 31 PageID 26
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 020
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 21 of 31 PageID 27
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 021
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 22 of 31 PageID 28
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 022
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 23 of 31 PageID 29
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 023
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 24 of 31 PageID 30
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 024
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 25 of 31 PageID 31
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 025
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 26 of 31 PageID 32
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 026
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 27 of 31 PageID 33
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 027
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 28 of 31 PageID 34
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 028
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 29 of 31 PageID 35
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 029
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 30 of 31 PageID 36
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 030
          Case 3:20-cv-00073-S Document 1-1 Filed 01/13/20   Page 31 of 31 PageID 37
DocuSign Envelope ID: 701D006E-60C4-413E-9926-00BD29A15FB5




                                                                          Def. App. 031
